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                    EXHIBIT B
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                                 REV Robtics U.S. Patent No. 12,115,813 v. WCP Spline XL Components and Robot

                   Claim 6                                                                 WCP Spline XL Components and Robot

A robot comprising:                              The WCP Spline XL Components including shafts and sockets can be used to construct a robot as shown by the following CAD
                                                 file images at https://wcproducts.info/files/frc/cad/mcc/2024_WCP_CC.zip :




an assembly for rotating a wheel-shaped object   The WCP Spline XL Components including tube stocks, bearing blocks, roller hubs and MotionX hubs are used to construct an
that comprises:                                  assembly for rotating a wheel-shaped object:

                                                   SplineXL Stock
                                                    SplineXL Tube Stock (47" L, 1" Bore) (WCP-0918)+$19.99In Stock




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                                                       SplineXL Bearing Blocks
                                                        2" Bearing Block (Centered, SplineXL Bore) (WCP-0590)+$23.99In Stock

                                                        2" Bearing Block (.06" Offset, SplineXL Bore) (WCP-0591)+$23.99In Stock

                                                        2.5" Bearing Block (Centered, SplineXL Bore) (WCP-0592)+$23.99In Stock

                                                        2.5" Bearing Block (.06" Offset, SplineXL Bore) (WCP-0593)+$23.99In Stock




                                                         SplineXL Roller Hubs
                                                          SplineXL OD Aluminum Roller Hub (5/16-18 Tapped Bore) (WCP-1391)+$6.99In Stock

                                                          SplineXL ID Aluminum Roller Hub (5/16-18 Tapped Bore) (WCP-1392)+$6.99In Stock



                                                         SplineXL MotionX Hubs
                                                          .159" ID x SplineXL OD MotionX Hub (Aluminum, #10-32 Clearance) (WCP-1122)+$8.99In Stock

                                                          1/2" Hex ID x SplineXL OD MotionX Hub (Aluminum, #10-32 Clearance) (WCP-1123)+$8.99In Stock

                                                          1/2" Hex ID x SplineXL OD MotionX Hub (Aluminum, #10-32 Tapped) (WCP-1124)+$8.99In Stock




the wheel-shaped object that comprises an            The Spline XL wheel-shaped objects comprise the claimed aperture:
aperture that includes an outer periphery
                                                         (1) Gears
coinciding with a first reference circle with a
first radius and an inner periphery coinciding       https://wcproducts.com/collections/belts-chain-gears/products/aluminum-splinexl-gears
with a second reference circle with a second
                                                     https://wcproducts.com/collections/belts-chain-gears/products/steel-splinexl-gears
radius that is less than the first radius, wherein
the inner periphery defines a plurality of inner
peripheral surfaces forming elongated arcs that
are concentric with the first reference circle
and the second reference circle; and




                                                                                          2
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                                                     (2) Sprockets
                                                 https://wcproducts.com/products/25-sprockets
                                                 https://wcproducts.com/products/35-sprockets




one or more insertion articles dimensioned to    The WCP Spline XL Components include the claimed insertion articles with an option of a live or dead axle:
be inserted into the aperture, wherein the one
                                                 (see below).
or more insertion articles provides the
assembly with an option of a live axle and a
dead axle, and wherein:




                                                                                     4
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the one or more insertion articles includes a    The WCP Spline XL Components include an insertion article that includes a first shaft with a splined outer surface dimensioned to
first shaft with a splined outer surface         engage the outer periphery and the inner periphery of the aperture to provide the assembly with the live axle:
dimensioned to engage the outer periphery and
the inner periphery of the aperture to provide
the assembly with the live axle; and




                                                 (WCP CC 2024)
                                                 Gears
                                                 https://wcproducts.com/collections/belts-chain-gears/products/aluminum-splinexl-gears
                                                 https://wcproducts.com/collections/belts-chain-gears/products/steel-splinexl-gears
                                                 All objects with the claimed spline interface can optionally be used as a bearing seat or as a dead/live axle torque transferring
                                                 interface.




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the one or more insertion articles includes a   The insertion article includes the claimed bearing:
bearing comprising: an outer surface
                                                Bearing Blocks
dimensioned to engage only the inner
peripheral surfaces of the aperture, and        https://wcproducts.com/products/splinexl




                                                                                      6
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a bore that is concentric with the first reference   The WCP Spline XL Components include the claimed bore sized to receive a second shaft to provide the assembly with the dead
circle and the second reference circle and sized     axle:
to receive a second shaft to provide the
assembly with the dead axle.




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          Hubs
          https://wcproducts.com/products/splinexl




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